      Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 1 of 11 PageID 12425
       Agency Name                                                         INCIDENT/INVESTIGATION                                            Case#
                                                                                                                                                     15-031381
                     Pasco Sheriff`s Office                                                   REPORT                                         Date / Time Reported
  I    ORI                                                                                                                                              08/25/2015 16:52 Tue
  N                           FL0510000                                                                                                      Last Known Secure
  C
      Location of Incident                                               Gang Relat Premise Type                           Zone/Tract                   08/25/2015 16:52 Tue
  I                                                                                                                                          At Found
  D      7432 LITTLE RD, New Port Richey FL 34654                          YES                                                   Z2                     08/25/2015 16:52 Tue
  E          Crime Incident(s)                                     ( Com ) Weapon / Tools NOT APPLICABLE                                                                Activity
  N    #1 Security Threat Group Documentation
  T                                                                        Entry                 Exit                                            Security
          99173
  D          Crime Incident                                        (        ) Weapon / Tools                                                                            Activity
  A    #2
  T                                                                            Entry                               Exit                          Security
  A
             Crime Incident                                        (        ) Weapon / Tools                                                                            Activity
       #3
                                                                               Entry                               Exit                          Security

 MO

       # of Victims 0          Type:                                                             Injury:                                                Domestic: N
              Victim/Business Name (Last, First, Middle)                                  Victim of           DOB          Race Sex Relationship Resident Status    Military
  V     V1                                                                                Crime #                                   To Offender                  Branch/Status
  I                                                                                                         Age
  C    Home Address                                                                                        Email                                                  Home Phone
  T
  I
       Employer Name/Address                                                                                                    Business Phone                    Mobile Phone
  M

       VYR          Make         Model           Style           Color                 Lic/Lis                                  VIN

       CODES: V- Victim (Denote V2, V3)         WI = Witness       IO = Involved Other           RP = Reporting Person (if other than victim)
       Type: OTHER                                                                               Injury:
  O
  T   Code Name (Last, First, Middle)                                                     Victim of           DOB          Race Sex Relationship Resident Status    Military
  H          THE SQUAD                                                                    Crime #                                   To Offender                  Branch/Status
  E
       IO                                                                                                   Age                                             N/A
  R    Home Address                                                                                        Email                                                  Home Phone
  S      NEW PORT RICHEY, FL
       Employer Name/Address                                                                                                    Business Phone                    Mobile Phone
  I
  N    Type: BUSINESS                                                                            Injury:
  V
  O   Code Name (Last, First, Middle)                                                     Victim of           DOB          Race Sex Relationship Resident Status    Military
             BLOODS                                                                       Crime #                                   To Offender                  Branch/Status
  L    IO                                                                                                   Age
  V                                                                                                                                                         N/A
  E    Home Address                                                                                        Email                                                  Home Phone
  D
       Employer Name/Address                                                                                                    Business Phone                    Mobile Phone

       L = Lost S = Stolen       R = Recovered D = Damaged Z = Seized B = Burned                 C = Counterfeit / Forged        F = Found
                                        ("OJ" = Recovered for Other Jurisdiction)
       VI     Status
       # Code Frm/To          Value      OJ QTY                        Property Description                                     Make/Model                        Serial Number



  P
  R
  O
  P
  E
  R
  T
  Y




       Officer/ID#         KOZERA, B. (PAT1) (3569)
       Invest ID#          (0)                                                                                     Supervisor                MELLO, K. E. (0830)
Status Complainant Signature                               Case Status
                                                           Administratively Cleared
                                                                                                                   Case Disposition:
                                                                                                                                                                         Page 1
                                                                                              08/25/2015                                             04/01/2016
       R_CS1IBR                              Printed By: CH1004, CAD                                           Sys#: 953642                                         01/20/2022 15:58
         Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 2 of 11 PageID 12426
                                  INCIDENT/INVESTIGATION REPORT
  Pasco Sheriff`s Office                                                                                                              Case #   15-031381
Status     L = Lost S = Stolen      R = Recovered   D = Damaged   Z = Seized   B = Burned   C = Counterfeit / Forged   F = Found
Codes

         UCR Status           Quantity     Type Measure                    Suspected Type                                          Up to 3 types of activity


 D
 R
 U
 G
 S




         Assisting Officers




         Suspect Hate / Bias Motivated:    None

                                                             INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 15-031381                                       Pasco Sheriff`s Office
NARRATIVE




R_CS2IBR                                                           By: CH1004, CAD 01/20/2022 15:58                                                            Page 2
 Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 3 of 11 PageID 12427
                          REPORTING OFFICER NARRATIVE                OCA
Pasco Sheriff`s Office                                                                                15-031381
   Victim                                     Offense                                             Date / Time Reported
                                                 SECURITY THREAT GROUP                              Tue 08/25/2015 16:52




    STAT DATA:
    RELATED CASE NUMBERS: 14-40084, 14-39557, 15-000715, 14-46026, 14-38969, 15-000714, 15-000797,
    14-39296, 13-39353, 13-35661, 13-27448, 13-19080, 14-4910, 13-006090, 13-27448

    This report is to document "The Squad" AKA "Rico Gang" as a criminal street gang according to Florida Statute
    874.03. The Squad is active in both the incorporated and unincorporated cities of Port Richey and New Port Richey,
    more specifically the west side of Pasco County. The Squad claims allegiance to the Bloods and would be considered
    a hybrid street gang to the nationally documented Bloods. The Squad has adopted the color red which is one of the
    most common colors worn by Blood gang members. The Squad was first identified by the members of the Pasco
    County Sheriff`s Office while conducting Facebook surveillance on several juveniles, who were committing crimes
    together. Photos observed were seen via the users public Facebook page, which could be seen by anyone. In these
    public photos, several members have been observed wearing red, while holding up distinctive hand signs used by the
    nationally documented Bloods. Most of the members of the Squad are juvenile with the exception of a few who have
    turned 18. Members have been friends for a long time with each other and have been arrested together committing
    crimes. In several cases, juvenile members would "car hop" committing auto burglaries. During these burglaries,
    members would find keys left in the vehicles, by the vehicles owner`s and would steal the car to "joy ride". In some
    cases, members have been arrested for the theft of these stolen vehicles. The gang has also been reported to be
    involved in numerous disturbances involving fights and the discharge of firearms into occupied dwellings, burglaries,
    and robberies. The Squad gang identifies with other various aka names which are posted on to several members open
    source Facebook pages. The other names to their gang include: JP gang, Rico Gang. The Squad gang members have
    been observed with Loyalty tattoos. In addition, gang members have used both a "b" hand sign to represent the
    Bloods. It is unknown at this time if there is a hierarchy to the gang and if crimes committed are for the good of the
    gang. This will be determined in future investigations. Any other members identified in this gang will be documented
    according to Florida State statute and added to the gangs identification database.
    No further action at this time.




Reporting Officer: KOZERA, B.             Printed By: CH1004, CAD   01/20/2022 15:58                                     Page 3
R_CS3NC
    Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 4 of 11 PageID 12428
                                                           Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                      OCA: 15-031381


    Name (Last, First, Middle)                                         Also Known As                                      Home Address
1                                                                           GARCIA, BRIANNA; KIKO;                         8421 N BROOKS ST
      GRACIANI, BRIANNA NATALIE                                             KIIKO                                          TAMPA, FL 33604
     Business Address   UNEMPLOYED                                                                                         352-263-0103

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         19        W      F        H           502          220      BLK          BRO           MED
     Scars, Marks, Tattoos, or other distinguishing features
       TATT RIGH ARM / HEART; CROSS, GOD`S GIFT; PUERTO RICAN FLAG; TATT    BACK / LATIN PRIDE; TATT LEFT
       ARM / BOSTON RED SOX; LION,; TATT   CHEST / FAMILY OVER EVERYTHING; TATT LEFT ARM / B CITY STARS;
    Reported Suspect Detail Suspect Age  Race   Sex  Eth   Height       Weight            SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Build, HEAVY
                                                                                                          Hair Facial, Clean Shaven
                                                                                                          Hair Length, Short
                                                                                                          Hands, Right Handed
                                                                                                          Pants/dress/skirt, Jeans
                                                                                                          Posture / Square, rect
                                                                                                          Shirt/blouse, Short Sleeves
                                                                                                          Shoes, Tennis
                                                                                                          Shoes, Tennis

    Name (Last, First, Middle)                                         Also Known As                                      Home Address
2                                                                                                                           HOMELESS
                                                                                                                           , FL
     Business Address   UNEMPLOYED, UNEMPLOYED                                                                             727-656-9480

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         15        W      M        N           503          115      BRO          BRO           LGT                                FL
     Scars, Marks, Tattoos, or other distinguishing features
         TATT RFOR ARM / LOYALTY

    Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Build, THIN
                                                                                                          Conversation, Polite
                                                                                                          Hair Facial, Slight Beard
                                                                                                          Hair Length, Short
                                                                                                          Hands, Right Handed
                                                                                                          Twin, Twin
                                                                                                          Build, MEDIUM
                                                                                                          Jacket, Jacket
                                                                                                          Pants/dress/skirt, Jogging
                                                                                                          Conversation, Polite


R_CS8IBR                                                   Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 4
    Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 5 of 11 PageID 12429
                                                           Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                      OCA: 15-031381


    Name (Last, First, Middle)                                         Also Known As                                      Home Address
3                                                                                                                          6036 WESTPORT DR
                                                                                                                           PORT RICHEY, FL 34653
     Business Address                                                                                                      727-484-8815

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         15        W      M        N           506          150      BRO          BRO           FAR                                FL
     Scars, Marks, Tattoos, or other distinguishing features
          TATT UPPR ARM / PRAYIING HANDS; TATT RFOR ARM / CROSS, 3/25/47, JACKIE GENE

    Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Build, MEDIUM
                                                                                                          Conversation, Polite
                                                                                                          Build, SMALL
                                                                                                          Build, THIN
                                                                                                          Hair Length, Short

    Name (Last, First, Middle)                                         Also Known As                                      Home Address
4                                                                           BABY DEE; BABY D                               7208 ADARE DR
      T          ,D
                                                                                                                           NEW PORT RICHEY, FL 34653
     Business Address   UNEMPLOYED, UNEMPLOYED                                                                             727-485-7631

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         16        W      F        N           505          145      BLK          HAZ           FAR                                FL
     Scars, Marks, Tattoos, or other distinguishing features
       TATT RIGH HAND / OCTAPUS LIL SAVAGE; TATT RIGH ARM / RESPECT, KELSEY; TATT RIGH HIP / VICT; TATT LEFT
       EAR / STAR BEHIND EAR; TATT RIGH ARM / "RESPECT", "KELSEY", HEART; TATT LEFT EAR / STAR; TATT RIGH
    Reported Suspect Detail Suspect Age   Race  Sex  Eth    Height        Weight           SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Hair Length, Medium
                                                                                                          Hair Facial, Clean Shaven
                                                                                                          Hair Length, Long
                                                                                                          Build, MEDIUM




R_CS8IBR                                                   Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 5
    Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 6 of 11 PageID 12430
                                                           Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                      OCA: 15-031381


    Name (Last, First, Middle)                                         Also Known As                                      Home Address
5                                                                           HERNANDEZ, ANGEL LUIS                          7703 JASMINE BLVD
                                                                                                                           PORT RICHEY, FL 34668
     Business Address   UNEMPLOYED                                                                                         727-485-5939

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         17        W      M        N           509          145      BRO          BRO           LGT                                FL
     Scars, Marks, Tattoos, or other distinguishing features
         SCAR LEFT ARM; TATT                    BODY / TATTOOS MULTIPLE

    Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Hair Length, Short
                                                                                                          Hair Facial, Clean Shaven
                                                                                                          Build, MEDIUM
                                                                                                          Build, SMALL
                                                                                                          Build, THIN
                                                                                                          Hair Facial, Slight Beard
                                                                                                          Hair Length, Military

    Name (Last, First, Middle)                                         Also Known As                                      Home Address
6                                                                           CASTILLO, VICTOR;                              4348 PLAZA DR - 302
      CASTILLO, VICTOR MANUEL                                               CASTILLO, VICTOR MANUEL;                       HOLIDAY, FL 34691
     Business Address   UNEMPLOYED                                                                                         813-481-4115
                        813-481-4115
      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         18        W      M        N           509          180      BLK          BRO           LBR                                FL
     Scars, Marks, Tattoos, or other distinguishing features
       TATT RIGH HAND / BOUT; TATT RIGH ARM / DRAMA MASK, STARS, PYRAMID WITH EYE, G LYSSA, DOUGH BOY;
       TATT LEFT ARM / H, ROSARY, AK47, LIVE BY GUN; MONEY BAG; TATT RIGH ARM / STARS, DICE, ROMAN MUMS,
    Reported Suspect Detail Suspect Age     Race  Sex Eth   Height       Weight           SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Build, SMALL
                                                                                                          Build, THIN
                                                                                                          Hair Length, Short
                                                                                                          Hair Length, Military
                                                                                                          Build, MUSCULAR
                                                                                                          Hair Facial, Goatee
                                                                                                          Hair Facial, Mustache
                                                                                                          Build, MEDIUM
                                                                                                          Hair Length, Military
                                                                                                          Build, MUSCULAR
                                                                                                          Hair Facial, Goatee
                                                                                                          Hair Facial, Mustache


R_CS8IBR                                                   Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 6
    Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 7 of 11 PageID 12431
                                                           Incident Report Suspect List
Pasco Sheriff`s Office                                                                                                                      OCA: 15-031381


    Name (Last, First, Middle)                                         Also Known As                                      Home Address
7                                                                           VALENTIN, CHRIS                                6613 CELESTE LA
      SICOLA, CHRIS
                                                                                                                           NEW PORT RICHEY, FL 34653
     Business Address   GULF HIGH, STUDENT                                                                                 727-485-6123

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                         18        W      M        N
     Scars, Marks, Tattoos, or other distinguishing features




    Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Hair Length, Short
                                                                                                          Hair Facial, Clean Shaven
                                                                                                          Build, THIN

    Name (Last, First, Middle)                                         Also Known As                                      Home Address
8                                                                           SHOOPMAN, RONI;                                2051 KIMBERLY DR
      SHOOPMAN, RONI JAMES                                                  SHOOPMAN, RONNY                                DUNEDIN, FL 34698
     Business Address   NONE, UNEMPLOYED                                                                                   727-359-6233

      DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.
                         19        W      M        N           509          150      BRO          BLU           MED                                FL
     Scars, Marks, Tattoos, or other distinguishing features
       TATT RIGH ARM / SKELTON; TATT RIGH ANKL / INDIAN SKULL; TATT                                                    BODY / ONE TATTOO-UNKNOWN OR
       LOCATION NOT NOTED; SCAR ABDO / SCAR ABDOMEN
    Reported Suspect Detail Suspect Age  Race  Sex   Eth   Height                                                         Weight                      SSN

     Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                   Mode of Travel
    VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


    Notes                                                                                                Physical Char
                                                                                                          Build, SMALL
                                                                                                          Hair Length, Short
                                                                                                          Hair Facial, Clean Shaven
                                                                                                          Build, MEDIUM
                                                                                                          Build, THIN




R_CS8IBR                                                   Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 7
     Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 8 of 11 PageID 12432
                                                            Incident Report Suspect List
 Pasco Sheriff`s Office                                                                                                              OCA: 15-031381


     Name (Last, First, Middle)                                       Also Known As                                Home Address
9                                                                                                       FAT         6730 CANDICE LN
                                                                       BOY                                          NEW PORT RICHEY INCO, FL 34653
      Business Address                                                                                              727-484-0370

       DOB               Age        Race   Sex      Eth    Hgt        Wgt       Hair      Eye           Skin       Driver's License / State.

                          17        W      M        N           509                 BLK    BRO           LBR
      Scars, Marks, Tattoos, or other distinguishing features
        TATT LFOR ARM / STEVE; TATT RFOR ARM / YOUNG; TATT RIGH HAND / PYRIMID; TATT RIGH ARM / YOUNG;
        TATT LEFT ARM / STEVE; SCAR RIGH ARM / STEVE
     Reported Suspect Detail Suspect Age   Race  Sex Eth   Height        Weight         SSN

      Weapon, Type        Feature            Make                 Model                         Color          Caliber      Dir of Travel
                                                                                                                            Mode of Travel
     VehYr/Make/Model                          Drs Style                    Color          Lic/St                            VIN


     Notes                                                                                        Physical Char
                                                                                                   Build, THIN
                                                                                                   Hair Length, Short
                                                                                                   Build, MEDIUM
                                                                                                   Build, SMALL
                                                                                                   Hair Facial, Clean Shaven
                                                                                                   Build, HEAVY

     Name (Last, First, Middle)                                       Also Known As                                Home Address
10                                                                                                                  8541 CONGRESS ST - 9
                                                                                                                    PORT RICHEY, FL 34668
      Business Address   GULF MIDDLE SCHOOL                                                                         727-597-0051

       DOB               Age        Race   Sex      Eth    Hgt        Wgt       Hair      Eye           Skin       Driver's License / State.

                          17        W      M        N           506    205          BRO    GRN           DRK                                FL
      Scars, Marks, Tattoos, or other distinguishing features
        TATT RIGH HAND / VIXCI ON MIDDLE FINGER; TATT RIGH HAND / LXCCDI ON RING FINGER; TATT                                                    BODY /
        TATTOOS MULTIPLE; SCAR BODY / SCARS MULTIPLE
     Reported Suspect Detail Suspect Age   Race Sex  Eth   Height        Weight         SSN

      Weapon, Type        Feature            Make                 Model                         Color          Caliber      Dir of Travel
                                                                                                                            Mode of Travel
     VehYr/Make/Model                          Drs Style                    Color          Lic/St                            VIN


     Notes                                                                                        Physical Char
                                                                                                   Build, MEDIUM
                                                                                                   Hair Length, Short
                                                                                                   Hair Facial, Clean Shaven
                                                                                                   Build, THIN




R_CS8IBR                                                    Printed By: CH1004, CAD        01/20/2022 15:58                                           Page 8
     Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 9 of 11 PageID 12433
                                                            Incident Report Suspect List
 Pasco Sheriff`s Office                                                                                                                      OCA: 15-031381


     Name (Last, First, Middle)                                         Also Known As                                      Home Address
11                                                                                                                          6245 9TH AVE
       LAGANA, TYLER LOUIS
                                                                                                                            NEW PORT RICHEY, FL 34653
      Business Address                                                                                                      727-815-2471

       DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                          19        W      M        N           504          140      BRO          HAZ           MED                                FL
      Scars, Marks, Tattoos, or other distinguishing features
        TATT RIGH ARM / ROSES STARS, BIRDS FLOWERS, TIME PIECE; TATT RIGH ARM / PRAYING HANDS; SCAR                                                           HEAD;
        TATT LEFT ARM / DEMOND; ARTI RIGH ARM / CROSS WITH PRAYING HANDS, ONLY GOD CAN JUDGE YOU
     Reported Suspect Detail Suspect Age    Race Sex  Eth    Height       Weight          SSN

      Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                    Mode of Travel
     VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


     Notes                                                                                                Physical Char
                                                                                                           Build, SMALL
                                                                                                           Hair Facial, Clean Shaven
                                                                                                           Hair Length, Short
                                                                                                           Build, THIN
                                                                                                           Hair Length, Long

     Name (Last, First, Middle)                                         Also Known As                                      Home Address
12                                                                           DOUGHBOY; OG SHOTTA                            5029 GALAXY DR
                                                                                                                            NEW PORT RICHEY, FL 34652
      Business Address                                                                                                      727-203-6388

       DOB               Age        Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                          17        W      M        N           510          175      BRO          BRO           MED                                FL
      Scars, Marks, Tattoos, or other distinguishing features
          TATT LEFT ARM / SCRIPT"GRATEFUL"; TATT CNTR CHEST / SCRIPT" BORN LUCKY"/SKULLS

     Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

      Weapon, Type        Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                    Mode of Travel
     VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


     Notes                                                                                                Physical Char
                                                                                                           Build, HEAVY
                                                                                                           Hair Facial, Clean Shaven
                                                                                                           Build, THIN
                                                                                                           Teeth, None
                                                                                                           Hair Length, Medium
                                                                                                           Hair Length, Short
                                                                                                           Build, MEDIUM
                                                                                                           Build, SMALL
                                                                                                           Conversation, Polite
                                                                                                           Hands, Right Handed
                                                                                                           Pants/dress/skirt, Shorts
                                                                                                           Posture / Square, rect
                                                                                                           Shirt/blouse, Pullover
                                                                                                           Shoes, Tennis


R_CS8IBR                                                    Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 9
     Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 10 of 11 PageID 12434
                                                             Incident Report Suspect List
 Pasco Sheriff`s Office                                                                                                                       OCA: 15-031381


      Name (Last, First, Middle)                                         Also Known As                                      Home Address
13                                                                            SIMPSON, DILLON M; LIL                         6814 AMARILLO ST
        SIMPSON, DYLAN MICHAEL                                                ITALY                                          PORT RICHEY, FL 34668
      Business Address   MARCHMAN                                                                                            727-534-7440

        DOB              Age         Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                           18        W      M        N           509          140      BRO          BRO           FAR
       Scars, Marks, Tattoos, or other distinguishing features




      Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

      Weapon, Type         Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                     Mode of Travel
      VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


      Notes                                                                                                Physical Char
                                                                                                            Hair Facial, Clean Shaven
                                                                                                            Hair Length, Short
                                                                                                            Build, MEDIUM
                                                                                                            Hair Length, Medium
                                                                                                            Build, THIN

      Name (Last, First, Middle)                                         Also Known As                                      Home Address
14                                                                                                                           6440 SPRING FLOWER DR - 25
                                                                                                                             NEW PORT RICHEY INCO, FL 34653
      Business Address   DUNKIN DONUTS, ASSOCIATE                                                                            727-849-6519

        DOB              Age         Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.

                           15        W      F        N           507          130      BLN          BLU           LGT
       Scars, Marks, Tattoos, or other distinguishing features
         TATT RIGH ANKL / RAMAH W/ SHOOTING STAR; TATT LFOR ARM / JOANN; TATT RFOR ARM / TATTOO, RIGHT
         FOREARM; TATT RIGH ANKL / TATTOO RIGHT ANKLE; SCAR FHED / SCAR FOREHEAD
      Reported Suspect Detail Suspect Age Race  Sex  Eth    Height       Weight          SSN

      Weapon, Type         Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                     Mode of Travel
      VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


      Notes                                                                                                Physical Char
                                                                                                            Hair Length, Short
                                                                                                            Hair Length, Long
                                                                                                            Hair Facial, Clean Shaven
                                                                                                            Build, THIN
                                                                                                            Hair Length, Medium
                                                                                                            Build, SMALL
                                                                                                            Build, MEDIUM




R_CS8IBR                                                     Printed By: CH1004, CAD                01/20/2022 15:58                                           Page 10
     Case 8:21-cv-00555-SDM-CPT Document 161-14 Filed 06/28/22 Page 11 of 11 PageID 12435
                                                             Incident Report Suspect List
 Pasco Sheriff`s Office                                                                                                               OCA: 15-031381


      Name (Last, First, Middle)                                       Also Known As                                Home Address
15                                                                      INGRAM, ELISUA G; INGRAM,                    7233 FULLERTON CT
        INGRAM, ELISUA GERARD                                           ELIJAH; INGRAM, ELISUA;                      NEW PORT RICHEY, FL 34655
      Business Address   UNEMPLOYED                                                                                  727-534-8829
                         727-478-9292, LANDSCAPER
        DOB              Age         Race   Sex      Eth    Hgt        Wgt       Hair      Eye           Skin       Driver's License / State.
                           18        W      M        N           510    230          BRO    BRO           DBR                                FL
       Scars, Marks, Tattoos, or other distinguishing features
         TATT LFOR ARM; TATT RIGH SHLD / TATTOO RIGHT SHOULDER; TATT   BODY / TATTOOS MULTIPLE; TATT UPPR
         ARM / TATTOO RIGHT UPPER ARM; TATT RFOR ARM / TATTOO RIGHT FOREARM
      Reported Suspect Detail Suspect Age  Race  Sex  Eth  Height       Weight         SSN

      Weapon, Type         Feature            Make                 Model                         Color          Caliber      Dir of Travel
                                                                                                                             Mode of Travel
      VehYr/Make/Model                          Drs Style                    Color          Lic/St                            VIN


      Notes                                                                                        Physical Char
                                                                                                    Hair Length, Short
                                                                                                    Build, MEDIUM
                                                                                                    Build, STOCKY
                                                                                                    Build, THIN
                                                                                                    Hair Facial, Clean Shaven
                                                                                                    Hair Facial, Slight Beard
                                                                                                    Hair Facial, Goatee
                                                                                                    Build, HEAVY
                                                                                                    Build, LARGE
                                                                                                    Hair Length, Medium




R_CS8IBR                                                     Printed By: CH1004, CAD        01/20/2022 15:58                                           Page 11
